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                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF MISSOURI
                                             OFFICE OF THE CLERK

Ann Thompson                                                         Reply To: Charles Evans Whittaker Courthouse
Court Executive                                                                400 E. 9'h Street
                                                                               Kansas City, MO 64106


February 16,2011



United States District Court
   Eastern District of Missouri
Office of the Clerk
Thomas F. Eagleton Courthouse
111 South 10th Street, Suite 3.300
S1. Louis, MO 63102

        In Re: USA v. Jagadish D. Patel
               Our Case No. 09-00219-01-CR-W-FJG
               Your Case No. l1-CR-25-JCH

Dear Clerk:

        Enclosed you will find certified copies of the following for the Transfer of Probation
Jurisdiction:

        1.   Docket Sheet
        2.   Indictment
        3.   Judgment & Commitment
        4.   Probation Form 22

        Please sign the copy of this letter and return it to the Western District Missouri Clerk's
Office in the enclosed envelope.

                                                      Sincerely,

                                                      Ann Thompson

                                                      by     COpy
                                                           Terri L. Gross, Deputy Clerk

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Signature ofthe receiving court: ----'k;",::::'_"




             Case 4:09-cr-00219-FJG Document 25 Filed 03/08/11 Page 1 of 1
